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        UBISOFT, INC.



II                                  UNITED STATES DISTRICT COURT


I                            FOR THE NORTHERN DISTRICT OF CALIFORNIA

        OG INTERNATIONAL LTD. and 0-GAMES,
        INC.,
                                                        Case No. 1 1-cv-4980


                                    Plaintiffs,
                                                        UBISOFT ENTERTAINMENT AND
                                                        UBISOFT, INC'S COUNTERCLAIM AND
                                                        ANSWER
        UBISOFT ENTERTAINMENT and
        UBISOFT, INC.,                                  DEMAND FOR JURY TRIAL
1                                   Defendants.

1
1                             UBISOFT'S COUNTERCLAIM AND ANSWER

)I             Defendants Ubisoft Entertainment and Ubisoft, Inc. (collectively, "Ubisoft") hereby

1       counterclaim against OG International Ltd. and 0-Games, Inc. (collectively, "OG"), and answer




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                              UBISOFT'S CLAIMS AGAINST OG
                                        Factual Backeround
       1.      Ubisoft seeks to immediately stop OG's improper efforts to capitalize on the success
of Ubisoft's highly popular Just Dance series of dance-based video games.
       2.      L%isoft Entertainment develops the Just Dance series of dance-based video games.
LTbisoft, Inc. distributes the Just Dance series of video games in the United States. The Just Dance
series of games allow players to interact with the game by physically performing dance routines
according to instructions provided by the games.
       3.      Ubisoft released Just Dance for the Nintendo Wii video game platform in Novembe~
2009 to significant commercial success. Ubisoft built upon that success with Just Dance 2, released
in October 2010, which became the largest selling third-party game for the Nintendo Wii platform.
To date, Ubisoft has shipped more than 16 million copies of the Just Dance series worldwide.

       4.      The franchise continues as Ubisoft released Just Dance 3 in the United States on
October 7, 201 1. Just Dance 3 is currently available on the Nintendo Wii and Microsoft Xbox 360
video game platforms, and will be released for the Sony Playstation 3 platform later this year.
       5.      OG International Ltd. and 0-Games, Inc. plan to release their first entry in the dance-
based video game genre, Get Up and Dance, in the United States on or about November 1, 201 1.
Ex. A . Get Up and Dance will be available on both the Nintendo Wii and Sony Playstation 3 video
game platforms.

       6.      As detailed below, OG's Get Up and Dance game copies key elements of expression
from the Just Dance series that are unique to Ubisoft's popular video game franchise, despite the
fact that those elements could have been expressed in innumerable different ways that would not
infringe Ubisoft's copyrighted works and trade dress.
       7.      If released, OG's Get Up and Dance will compete directly with Ubisoft's Just Dance
series of games. Get Up and Dance is currently being marketed as a pre-release in the same
marketing channels as the Just Dance series, and will be offered for sale from the same national



                                                   2
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     retailers. Ex. A (Gamestop Pre-Release Order; Wal-Mart Pre-Release Order); Ex. B (Just Dance j
     from Wal-Mart; Just Dance 3 from Game Stop).
             8.     If Get Up and Dance is released in the United States as planned on November 1:
     201 1, Ubisoft will be irreparably harmed.
                                           Procedural Background

             1.     This lawsuit involves Ubisoft's claims against OG for copyright infringement, trade
     dress infringement, and unfair competition.
            2.      In an effort to resolve these claims without litigation, Ubisoft began corresponding
     with OG in August 201 1. After OG repeatedly refused to address Ubisoft's concern with in-game
     content in Get Up and Dance, counsel for Ubisoft sent a Cease and Desist demand and stated,

     clearly and explicitly, that Ubisoft would file a lawsuit no later than October 10, 201 1 if OG would
     not agree to modify its game:
            You must either modify the game to remove, at a minimum, the similarities with Just Dance

11          outlined above, or stop distribution altogether. If you refuse to do so, Ubisoft will file suit
            for copyright infringement, unfair competition, and trade dress infringement no later than
                                                                                                              I
            October 10,201 1.


 ~          3.      Ubisoft later clarified that, because the federal court was scheduled to be closed on
     October 10,2011 for a federal holiday, "Ubisoft will file suit no later than October 11,201 1."
            4.      Rather than seek to remedy Ubisoft's copyright, trade dress, and unfair competition
     claims, OG chose a race to the courthouse. On October 7,201 1 - four days before the specified date
     on which Ubisoft had informed OG it would file suit if the parties could not reach an accord - OG

     filed a declaratory judgment action against Ubisoft for the very claims that Ubisoft informed OG ii
     would be filing. As of the date of this filing, OG still has not informed Ubisoft that it filed the
     instant lawsuit.
            5.      Because Ubisoft provided OG with a specific, concrete indication that it would file
     suit by October 11, 201 1 if the parties had not reached an accord, OG's race to the courthouse is
     anticipatory and improper. See Z-Line Designs, Inc. v. Bell'O Int'l LLC, 21 8 F.R.D. 663, 665 (N.D.

                                                       3
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Cal. 2003) ("A suit is anticipatory when the plaintiff filed upon receipt of specific, concrete
indications that a suit by defendant was imminent.").
       6.      Despite OG's improper tactics, Ubisoft's chief concern is to immediately prevent the
illegal release of OG's Get Up and Dance video game, which is currently set to be released on
November 1, 201 1 in the United States. Because OG, by filing this action, has consented to
jurisdiction and venue in this Court and eliminated potential delays associated with service of
process on a United Kingdom corporation, Ubisoft will expeditiously pursue its claims against OG
in this action. However, Ubisoft is the true plaintiff in this action, and Ubisoft reserves its right to
challenge OG's assertion of declaratory judgment jurisdiction.
                                                Parties

       7.      Defendant Ubisoft Entertainment is a French corporation with its principal place of
business in Montreuil-sous-Bois, France.
       8.      Defendant Ubisoft, Inc. is a California corporation with its principal place of business
at 625 3rdStreet, San Francisco, California, 94107.
       9.      Plaintiff OG International Ltd. is a corporation registered with the United Kingdom
Registrar of Companies with its registered address at 5 Jupiter House, Calleva Park, United
Kingdom, RG7 8NN and its principal place of business at 17 Bridle Close, Finedon Road Industrial
Estate, Wellingborough, Northants, United Kingdom.
       10.     Plaintiff 0-Games, Inc. is a Delaware corporation, with its principal place of business
at 27 1 1 Centerville, Road, Suite 400, Wilmington, Delaware 19808.
       11.     According to OG's declaratory judgment complaint, OG is "the author and producer"

of Get Up and Dance.
                                  JURISDICTION AND VENUE
       12.     This court generally has subject matter jurisdiction over actions for copyright
infringement under the United States Copyright Laws, 15 U.S.C.           $5   501 et seq., trade dress
infringement under the Lanham Act, 15 U.S.C. $ 1051 et seq., and unfair competition under



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California Business and Professions Code    $3   17200 et seq. under 28 U.S.C.   $5   1331, 1338, and
1367.
                                   FACTUAL ALLEGATIONS
        13.    Multiple dance-based video games exist in the market place both before and
contemporaneous with Ubisoft's Just Dance series of games.
        14.    The primary protectable visual elements in nearly all games of this genre are (1) a
central dancing figure, or "avatar," that performs the dance routine players attempt to emulate and
(2) "instructor" elements that identify the particular dance moves players must attempt to perform
during the game. These prominent visual elements garner the visual focus of both players and non-
players alike, and are thus key identifying features that serve to distinguish between competing

games of the genre.
Ubisoft's Unique and Oripinal Protected Expression
        15.   Ubisoft's Just Dance series is set apart from competitors by its unique, original, and
immediately identifiable expression of its "avatar" and "instructor" elements.




Ex. C (Just Dance Screenshots).



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     11    and are consistent across Just Dance, Just Dance 2, and Just Dance 3. Distinct from the many


     I11   different expressions of avatars in competing games (examples depicted below), Ubisoft's avatars
           depict partially silhouetted stylized dancer with white skin and bright clothing. These expressive
                                                                                                                I
      II   characteristics create a unique look that sets the Just Dance games apart from other games in the

     II    genre, as represented below.
                                                                                                                I
                              Avatars from Ubisoft's Just Dance series of video games




18    .
                                          Avatars in other dance-based games
19




      L                           I                             I                                          I



27         Ex. C (Just Dance Screenshots); Ex. D (Competing Game Screenshots).
28
                                                           6
                                                ANSWER AND COUNTERCLAIM
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       17.     Ubisoft also has developed unique, original, and immediately identifiable
"instructors" that relay particular dance moves to the player. Again, Ubisoft's instructors are distinct
from those used in other games in the genre, as shown below.




Ex. C (Just Dance Screenshots); Ex. D (Competing Game Screenshots).

       18.     Ubisoft owns the copyrights in its original and creative expression incorporated in
each of the Just Dance games.          Further, Ubisoft Entertainment filed copyright registration
applications for both Just Dance and Just Dance 2 with the Copyright Office on July 1 1, 20 11. Ex.
E (Copyright Registrations). These applications are currently pending and are presumed valid upon


OG's Get Up and Dance Copies Without Authoritv Ubisoft's C o ~ v r i ~ h t eWorks
                                                                            d




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         19.     OG has announced the release of their first entry in the dance-based video game

 genre, Get Up and Dance, in the United States on November 1, 201 1 for both the Nintendo Wii and
 Sony Playstation 3 video game platforms.

         20.     Despite the fact that OG could have expressed its avatars and instructors in
 innumerable different ways as demonstrated by other games in the genre, OG opted instead to copy
 Ubisoft's copyrighted works nearly identically.

         21.     Like Ubisoft's games, OG chose to use avatars that depict partially silhouetted
 stylized dancer with white skin and bright clothing. Accordingly, they appear nearly identical to and

II substantially the same as Ubisoft's protected expression:
                                                           Get UDand Dance




 Ex. C (Just Dance Screenshots); Ex. F (Get Up and Dance Screenshots).

         22. OG similarly chose to copy Ubisoft's instructors:




                                                     8
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l4   1   Ex. C (JustDance Screenshots); Ex. F (Get Up and Dance Screenshots).


l5   1           23.   A comparison of OG's Gel Up and Dance with Ubisofi's Just Dance series

l6   1   demonstrates copying of these key elements of protectable expression by OG and thus the
     1   copyrighted works themselves.
                                           FIRST CAUSE OF ACTION
                                         (Federal Copyright Infringement)

2o   1                                         (17 U.S.C. 8 501 et seq.)


22
     1           24.   Ubisoft realleges and incorporates by reference the allegations set forth in paragraphs

         1-23 above.
23
                 25.   At all relevant times, Ubisoft has owned all applicable rights, titles and interest in and
24   1   to Ubisofi's copyrighted works Just Dance, Just Dance I , and Just Dance 3.

25
26
     1           26.   Ubisoft has complied in all respects with Title 17 of the United States Code and has
         filed for copyright registrations for Just Dance and Just Dance 2 with the Copyright Office.
27
28
                                                           9
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        27.        If released in the United States, Get Up and Dance will infringe Ubisoft's
copyrighted works by copying, using, andlor distributing Ubisoft's copyrighted works without the
consent of Ubisoft and in disregard of Ubisoft's exclusive rights under copyright.
        28.        On information and belief, OG has acted with full knowledge of Ubisoft's rights
under copyright without regard for the damage Ubisoft will incur due to OG's activities.

        29.        OG's planned actions demonstrate an intentional, willful, and malicious intent tc
infringe upon Ubisoft's copyrights which, if not enjoined, will result in irreparable injury to Ubisoft.

        30.        Ubisoft is entitled to immediate injunctive relief and damages in an amount to be
proven at trial.
                                     SECOND CAUSE OF ACTION
                                   (Federal Trade Dress Infringement)
                                         (15 U.S.C. 5 1051 et seq.)
        3 1.       Ubisoft realleges and incorporates by reference the allegations set forth in paragraphs
1-30 above.

        32.        Ubisoft's trade dress in its Just Dance series of games includes Ubisoft's creative
expression of its avatars and instructors. The expression of these elements is non-functional and is
an inherently distinctive indicator of origin that distinguishes the Just Dance series from other games

in the genre.
        33.        Ubisoft includes screen shots of its unique, original, and immediately identifiable
avatars and instructors on the packaging of Just Dance, Just Dance 2 and Just Dance 3.
        34.        If OG's activities are not enjoined, the public will confuse OG's Get Up and Dance
with Ubisoft's Just Dance series, in part because (1) Ubisoft's trade dress is a strong indicator ol
xigin, (2) OG incorporates LJbisoft's trade dress nearly identically in Get Up and Dance, (3) OG's
Get Up and Dance will compete directly with Ubisoft's Just Dance series and will use common
marketing channels, and (4) even before the release of Get Up and Dance, there is evidence of actual
:onfusion.



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        35.        On information and belief, OG has acted with full knowledge of Ubisoft's trade dress
rights without regard for the damage Ubisoft will incur due to OG's activities.
        36.        OG's planned actions demonstrate an intentional, willful, and malicious intent to
infringe upon Ubisoft's trade dress which will result in irreparable injury to Ubisoft.

        37.        Ubisoft is entitled to immediate injunctive relief and damages in an amount to be
proven at trial.
                                      THIRD CAUSE OF ACTION
                                           (Unfair Competition)
                       (California Business and Professions Code 55 17200 et seq.)
        38.        Ubisoft realleges and incorporates by reference the allegations set forth in paragraphs
1-37 above.
        39.        OG will engage in unlawful, unfair andlor fraudulent business acts and practices
within the meaning of California Business and Professions Code         $3   17200 et seq. Specifically, If
n o t enjoined from releasing Get Up and Dance, OG will infringe Ubisoft's trade dress, causing

1 consumer confusion, in violation of the Lanham Act.
        40.        Ubisoft is entitled to immediate injunctive relief and damages in an amount to be

proven at trial.
                                            REOUEST FOR RELIEF
WHEREFORE, Ubisoft requests entry of judgment in its favor against OG as follows:
    A. Enter judgment that the release of OG's Get Up and Dance game will infringe Ubisoft's
        copyrights and Ubisoft's Just Dance trade dress;
    B. Preliminarily enjoin andlor temporarily restrain OG and its officers, directors, agents,
        employees, representatives, and all persons or entities acting in concert with OG, from
        releasing Get Up and Dance in the United States, thereby preventing infringement of




                                                     11
                                        ANSWER AND COUNTERCLAlM
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    C. Permanently enjoin OG and its officers, directors, agents, employees, representatives, and all

        persons or entities acting in concert with OG, from infringing Ubisoft's copyrights and
        Ubisoft's Just Dance trade dress;
    D. Award Ubisoft damages for OG's copyright infringement as provided under 17 U.S.C.        5 504,
        together with prejudgment and post-judgment interest;
    E. An accounting of OG's profits pursuant to 15 U.S.C. 5 1 1 17;
    F. A judgment trebling any damages award pursuant to 15 U.S.C. 5 1 1 17;
    G. That OG account for and disgorge to Ubisoft profits realized by OG by reason of OG's

        unlawful acts herein alleged and that those profits be increased as provided by law;
    H. Punitive damages as provided by law;
                                                                                                         I
    I. Award Ubisoft its costs of suit incurred herein, including its attorneys' fees as provided
        under 17 U.S.C.   5 505, 15 U.S.C. 5   1117, and California Code of Civil Procedure 5 1021.5;
    J. Reasonable funds for future corrective advertising;
    K. That this Court retain jurisdiction of this action for the purpose of enabling Ubisoft to apply
        to the Court at any time for such further orders and interpretation or execution of any order
        entered in this action, for the modification of any such order, for the enforcement or
        compliance therewith and for the punishment of any violations thereof;
    L. Award to Ubisoft any such other and further relief as the Court may deem just, proper, and
        equitable under the circumstances.
                              UBISOIT'S ANSWER TO OG's COMPLAINT
                 Ubisoft hereby answers OG's Complaint for Declaratory Judgment of Non-
Infringement and No Unfair Competition ("Complaint") as follows:

            1.   Ubisoft admits that OG purports to file a declaratory judgment action of non-
infringement and no unfair competition, but denies that OG has established declaratory judgment
jurisdiction or states a meritorious claim. Ubisoft denies the remaining allegations of Paragraph 1.
                                                 PARTIES
        2.       On information and belief, Ubisoft admits the allegations of Paragraph 2.

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                                      ANSWER AND COUNTERCLAIM
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       3.      On information and belief, Ubisoft admits the allegations of Paragraph 3.
       4.      On information and belief, Ubisoft admits that OG International and 0-Games USA
develop and publish video games that are sold to individuals in this jurisdiction.       Ubisoft lacks
knowledge or information sufficient to form a belief about the truth of the remaining allegations of
Paragraph 4, and therefore denies the same.

       5.      Ubisoft admits the allegations of Paragraph 5.
       6.      Ubisoft admits the allegations of Paragraph 6.
       7.      Ubisoft admits that it develops and publishes video games, which are distributed in
the United States and sold to individuals within the jurisdiction of this Court. Ubisoft denies the
remaining allegations of Paragraph 7.

                                      JURISDICTION AND VENUE

       8.      Ubisoft admits that this Court has jurisdiction over federal questions pursuant to 28
U.S.C. 4 1331 and over copyright, trade dress, and unfair competition pursuant to 28 U.S.C. 4 1338,
but denies that this Court has jurisdiction over OG's declaratory judgment claim. Ubisoft admits
that this Court has supplemental subject matter jurisdiction over claims arising under California's

unfair competition law pursuant to 28 U.S.C. 4 1367.
       9.      Ubisoft does not contest that this Court has personal jurisdiction over Ubisoft, and

fiu-ther admits that it conducts business in the State of California and within this district, and sells
products, on the internet and otherwise, to California residents.        Ubisoft denies the remaining

allegations of Paragraph 9.
       10.     Ubisoft does not contest that venue is proper in this district.

       11.     Ubisoft denies that an actual case or controversy had arisen between the parties as of
the filing of OG's declaratory judgment action on October 7,201 1. Ubisofi had previously informed
OG that it would file suit for copyright infringement unfair competition, and trade dress
infringement no later than October 11,201 1. Because Ubisoft provided OG with a specific, concrete
indication that it would file a lawsuit by October 11, 201 1, OG's attempt to file this anticipatory
lawsuit is improper. Ubisoft denies the remaining allegations of Paragraph 11.

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                                           CASE AND CONTROVERSY
            12.     Ubisoft denies that an actual case or controversy had arisen between the parties as of
     the filing of OG's declaratory judgment action on October 7, 201 1. Ubisoft had previously informed
     OG that it would file suit for copyright infringement unfair competition, and trade dress
     infringement no later than October 11, 201 1. Because Ubisoft provided OG with a specific, concrete
     indication that it would file a lawsuit by October 11, 201 1, OG's attempt to file this anticipatory
     lawsuit is improper. Ubisoft specifically denies that OG is entitled to have a declaration pursuant to
     the Declaratory Judgment Act, 28 U.S.C. $$ 2201 and 2202.             Ubisoft denies the remaining
     allegations of Paragraph 12.

                                                   FACTS
            13.    On information and belief, Ubisoft admits that OG developed and produced a video
     game entitled Get Up and Dance, but denies that it is original. LTbisoft denies the remaining
     allegations of Paragraph 13.
            14.    Ubisoft denies that OG independently created each element of the Get Up and Dance
     video game. Ubisoft lacks knowledge or information sufficient to form a belief as to the remaining

     allegations of Paragraph 14.
            15.    Ubisoft lacks knowledge or information sufficient to form a belief as to the

     allegations of Paragraph 15.
            16.    Ubisoft admits that Get Up and Dance is marketed in the United States through OG's

11   website, as well as through websites of retailers in the United States. Ubisoft further admits on1
     information and belief that Get Up and Dance is distributed in the United States through Crave

     Games, Inc.
            17.     Ubisoft admits that its ownership in the copyright in Just Dance, Just Dance 2, and
     Just Dance 3 vested upon fixation of the works. LTbisoft further admits that it formally applied to
     register its copyrights in Just Dance and Just Dance 2 on July 11, 201 1. Ubisoft denies the
     remaining allegations of Paragraph 17.



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        18.    Ubisoft lacks knowledge or information sufficient to form a belief as to the
allegations of Paragraph 18.
        19.    Lhisoft admits that it notified OG of its concerns with respect to the release of Get Up
and Dance on multiple occasions, including letters dated August 16, 201 1, August 29, 20 11,

September 27, 201 1, September 29, 201 1, and October 6, 201 1. Lhisoft denies the remaining
allegations of Paragraph 19.
       20.     Ubisoft admits that on September 29, 201 1, Ubisoft formally demanded that OG
cease and desist from further publishing or distributing Get Up and Dance in its current form in the
United States. Lhisoft plainly stated that "[ilf you refuse to do so, Ubisoft will file suit for copyright
infringement, unfair competition, and trade dress infringement no later than October 10, 201 1."
Ubisoft further admits that on October 6, 201 1, it informed OG in writing that due to federal court
closure on October 10, 201 1, Ubisoft would be filing its lawsuit no later than October 11, 201 1.
Ubisoft denies the remaining allegations of Paragraph 20.
       2 1.    Ubisoft denies the allegations of Paragraph 2 1.
       22.     Ubisoft denies the allegations of Paragraph 22.

       23.     Ubisoft denies the allegations of Paragraph 23.
       24.     Ubisoft denies the allegations of Paragraph 24.

       25.     Ubisoft denies the allegations of Paragraph 25.

       26.     Ubisoft denies the allegations of Paragraph 26. Ubisoft specifically informed OG
that, absent a modification of the Get Up and Dance video game or its agreement to cease and desist
from further publishing or distributing the game in the United States, Ubisoft would file a lawsuit
against OG on October 11,2011.
               COUNT I (DECLARATOY JUDGMENT OF NON-INFRINGEMENT OF
              COPYRIGHT UNDER THE COPYRlGHT ACT, 17 U.S.C. 6 101 ET SEQ.1

       27.     Ubisoft restates and incorporates by reference the answers set forth in Paragraphs 1-

26 above.



                                                   15
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11   infringement, and further admits that Ubisoft specifically informed OG that it would file a lawsuit
II   for copyright infringement against OG no later than October 11, 201 1. Ubisoft denies the remaining
II   allegations of Paragraph 28.
                                                                                                                I
11          29.     Ubisoft denies that an actual, present, or justiciable controversy had arisen between

     the parties as of the filing of OG's declaratory judgment action on October 7, 201 1. Ubisoft had
     previously informed OG that it would file suit for copyright infringement unfair competition, and
     trade dress infringement no later than October 11, 201 1. Because Ubisoft provided OG with a
     specific, concrete indication that it would file a lawsuit by October 11, 201 1 , OG's attempt to file
     this anticipatory lawsuit is improper. Ubisoft therefore denies that OG is entitled to the issuance of a
     declaratory judgment. Ubisoft denies the remaining allegations of Paragraph 29.
            30.     Ubisoft admits that OG purports to seek a declaratory judgment from this Court that
     their Get Up and Dance video game does not infringe Ubisoft's copyrights, but denies that OG states
II   a meritorious claim and further denies that OG is entitled to a declaratory judgment.
                                                                                                                II
11          3 1.    Ubisoft admits that OG purports to seek a declaratory judgment from this Court that
     their Get Up and Dance video game does not infringe Ubisoft's copyrights, but denies that OG states
     a meritorious claim and further denies that OG is entitled to a declaratory judgment.           LTbisoft
     specifically denies that Ubisoft's Just Dance video game is not protectable under the Copyright Act.
     Ubisoft denies the remaining allegations of Paragraph 3 1.



I                  COUNT I1 (DECLARATOY JUDGMENT OF NON-INFRINGEMENT


II           OF TRADE DRESS UNDER THE LANHAM ACT, 15 U.S.C. 6 1051 ET SEO.)
                                                                                                                I
II          32.     Ubisoft restates and incorporates by reference its answers set forth in Paragraphs 1-



II          33.     Ubisoft admits that OG's Get Up and Dance video game constitutes trade dress
     infringement, and further admits that Ubisoft specifically informed OG that it would file a lawsuit
     for copyright infringement against OG no later than October 11, 20 11. Ubisoft denies the remaining
     allegations of Paragraph 33.
                                                       16
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 2
     II     the parties as of the filing of OG's declaratory judgment action on October 7, 201 1. Ubisoft had

 3
     II     previously informed OG that it would file suit for copyright infringement, unfair competition, and
 4
     I      trade dress infringement no later than October 11, 201 1. Because Ubisoft provided OG with a
 5
     II     specific, concrete indication that it would file a lawsuit by October 11, 201 1, OG's attempt to file
 6
      I     this anticipatory lawsuit is improper. Ubisoft therefore denies that OG is entitled to the issuance of a
 7
      I     declaratory judgment. Ubisoft denies the remaining allegations of Paragraph 34.


      1            35.     Ubisoft admits that OG purports to seek a declaratory judgment from this Court that
 9
     II     their Get Up and Dance video game does not infringe Ubisoft's trade dress, but denies that OG
10
     II     states a meritorious claim and further denies that OG is entitled to a declaratory judgment.
                                                                                                                       I
l1   I             36.     Ubisoft admits that OG purports to seek a declaratory judgment from this Court that

12
     II     their Get Up and Dance video game does not infringe Ubisoft's trade dress, but denies that OG
13
     II     states a meritorious claim and further denies that OG is entitled to a declaratory judgment. Ubisoft
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15
     I11I   specifically denies that Ubisoft's Just Dance video game is not protectable trade dress under the
            Lanham Act. Ubisoft denies the remaining allegations of Paragraph 36.                                      I
l6   1                   COUNT I11 (DECLARATORY JUDGMENT OF NO UNFAIR COMPETITION
                                   UNDER THE LANHAM ACT. 15 U.S.C. 6 1051 ET SEO.1

                   37.     Ubisoft restates and incorporates by reference its answers set forth in Paragraphs 1-
            36, above.
20
                   38.     Ubisoft admits that OG's Get Up and Dance video game constitutes unfair
21
            competition, and hrther admits that Ubisoft specifically informed OG that it would file a lawsuit for
22
            copyright infringement against OG no later than October 11, 201 1. Ubisoft denies the remaining
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24
     II     allegations of Paragraph 38.
                                                                                                                       I
                   39.     Ubisoft denies that an actual, present, or justiciable controversy had arisen between
25
            the parties as of the filing of OG's declaratory judgment action on October 7, 201 1. Ubisoft had
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27
     11     previously informed OG that it would file suit for copyright infringement unfair competition, and1
            trade dress infringement no later than October 11, 201 1. Because Ubisoft provided OG with a
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                                                              17
                                                 ANSWER AND COUNTERCLAIM
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specific, concrete indication that it would file a lawsuit by October 11, 201 1, OG's attempt to file (
this anticipatory lawsuit is improper. Ubisoft therefore denies that OG is entitled to the issuance of a
declaratory judgment. Ubisoft denies the remaining allegations of Paragraph 39.
       40.      Ubisoft denies the allegations of Paragraph 40.
       41.      LJbisoft admits that OG purports to seek a declaratory judgment from this Court that
OG's development, publication, marketing and pending distribution and sale of Get Up and Dance
does not constitute unfair competition, but denies that OG states a meritorious claim and further
denies that OG is entitled to a declaratory judgment. Ubisoft denies the remainder of the allegations
of Paragraph 4 1.
              COUNT IV (DECLARATORY JLTDGMENT OF NO UNFAIR COMPETITION

              UNDER CALIFORNIA BUSINESS & PROFESSIONS CODE 6 17200 ET SEO.1
       42.      LJbisoft restates and incorporates by reference its answers set forth in Paragraphs 1-
4 1, above.
       43.      Ubisoft admits that OG's Get Up and Dance video game constitutes trade dress
infringement, and further admits that Ubisoft specifically informed OG that it would file a lawsuit
for copyright infringement against OG no later than October 11, 201 1. Ubisoft denies the remaining
allegations of Paragraph 43.
       44.      Ubisoft denies that an actual, present, or justiciable controversy had arisen between
the parties as of the filing of OG's declaratory judgment action on October 7, 201 1. Ubisoft had
previously informed OG that it would file suit for copyright infringement unfair competition, and
trade dress infringement no later than October 11, 201 1. Because Ubisoft provided OG with a
specific, concrete indication that it would file a lawsuit by October 11, 201 1, OG's attempt to file
this anticipatory lawsuit is improper. Ubisoft therefore denies that OG is entitled to the issuance of a
declaratory judgment. Ubisoft denies the remaining allegations of Paragraph 44
       45.      Ubisoft denies the allegations of Paragraph 45.
       46.      Ubisoft denies the allegations of Paragraph 46.
       47.      Ubisoft denies the allegations of Paragraph 47.

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       48.     Ubisoft admits that OG purports to seek a declaratory judgment from this Court thal
DGYsdevelopment, publication, marketing and pending distribution and sale of Get Up and Dance
joes not constitute unfair competition, but denies that OG states a meritorious claim and hrther
3enies that OG is entitled to a declaratory judgment. Ubisoft denies the remainder of the allegations
3f Paragraph 48.
                                         PRAYER FOR RELIEF
       Ubisoft denies that OG is entitled to any relief in connection with the allegations of OGYs
Complaint, including, without limitations, the allegations of Paragraphs 1 through 3 of OG's Prayer
For Relief.
       To the extent that any allegation contained in OGYsComplaint has not been specifically
admitted herein, it is hereby denied. Ubisoft further denies any allegations that may be implied by or
~nferredfrom the headings of OGYsComplaint.


              DEFENDANTS UBISOFT HEREBY DEMANDS A TRIAL BY JURY



Dated: October 1 1,20 1 1                   SHOOK, H A Y Y & BACON
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                                                Andrew L. Chang         <---\
                                                Attorneys for Defendants
                                                UBISOFT ENTERTAINMENT and
                                                UBISOFT, INC.




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                                    ANSWER AND COUNTERCLAIM
